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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.
                                                  Case No. CR-10-086-RAW
 MIGUEL ZAVALA GARCIA,

                Defendant.



                                     ORDER & OPINION

       This matter came before the court on July 26, 2011 for hearing on the Government’s Appeal

of the Release Order by the United States Magistrate Judge in the Eastern District of California

[Docket No. 158].

       On December 8, 2010, the Grand Jury returned a Sealed Indictment charging Miguel Zavala

Garcia, (hereinafter “Defendant Garcia”) and five other defendants with conspiracy to possess with

intent to distribute and to distribute 500 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, all in violation 21

U.S.C. § 846. An arrest warrant was issued for Defendant Garcia on the same day, December 8,

2010. Defendant Garcia was not found and arrested until more than six months had passed, on June

16, 2011.

       At the hearing, the court heard arguments from defense counsel and the Government and

testimony from two witnesses. The court would have also reviewed de novo the evidence offered

at the detention hearing held in California on June 24, 2011, but none was presented to the court.

       If the court finds that “no condition or combination of conditions will reasonably assure the

appearance of [Defendant Garcia] as required and the safety of any other person and the
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community,” the court must order his detention pending trial. 18 U.S.C. § 3142(e). Title 18, section

3142(e)(3) provides in pertinent part:

         Subject to rebuttal by the person, it shall be presumed that no condition or
         combination of conditions will reasonably assure the appearance of the person as
         required and the safety of the community if the judicial officer finds that there is
         probable cause to believe that the person committed– (A) an offense for which a
         maximum term of imprisonment of ten years or more is prescribed in the Controlled
         Substances Act (21 U.S.C. 801 et seq.) . . . .

         As the Tenth Circuit has pointed out, “the Senate Committee on the Judiciary explained at

length the concept of pretrial detention as provided under § 3142(e). The concern about safety is

to be given a broader construction than the mere danger of physical violence.” United States v.

Cook, 880 F.2d 1158, 1161 (10th Cir. 1989). “[T]he risk that a defendant will continue to engage

in drug trafficking constitutes a danger to the ‘safety of any other person or the community.’” Id.

         Since the § 3142(e)(3)(A) presumption has been invoked, the Defendant carries a burden of

production. United States v. Stricklin, 932 F.2d 1353, 1354 (10th Cir. 1991). The burden of

persuasion regarding flight risk and danger to the community, however, remains with the

Government. Id. at 1354-55. The Defendant’s burden is not heavy, he must only produce some

evidence. Id. at 1355. Even if the Defendant has met his burden, however, “the presumption

remains a factor for consideration by the district court in determining whether to release or detain.”

Id.

         Having considered all of the arguments and evidence presented at the hearing and the factors

set forth in § 3142(g), the court finds that no condition or combination of conditions will reasonably

assure the appearance of Defendant Garcia as required and the safety of any other person and the

community. Accordingly, the court REVERSES the June 24, 2011 Release Order. Defendant

Garcia is remanded to the custody of the United States Marshal Service pending trial.


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   It is so ORDERED this 27thday of July, 2011.




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